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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA


JANE DOE, an individual,                              )
                                                      )
                   Plaintiff,                         )
           v.                                         )         2:19-cv-00784 RJC
                                                      )
UNIVERSITY OF KENTUCKY,                               )
                                                      )
                   Defendant.                         )

                                                    OPINION

Robert J. Colville, United States District Court Judge.

           Presently pending before the Court is a Defendant’s Motion to Dismiss or in the Alternative

Transfer Venue.” [ECF No. 29]. For the reasons stated herein the Motion to Dismiss will be denied

to the extent it seeks dismissal and granted to the extent it seeks transfer to another forum.

I. PROCEDURAL HISTORY

           The Complaint in this matter was filed on July 2, 2019 (ECF No. 1) (hereinafter

“Complaint” or “Compl.”). On September 3, 2019, Defendant University of Kentucky (hereinafter

“Defendant” or “the University”) filed the instant motion, with brief in support (ECF Nos. 9, 10),

and on October 4, 2019, Plaintiff filed her response in Opposition to the Motion to Dismiss (with

exhibits) (ECF No. 21) and Response in Opposition to the Motion to Transfer Venue (ECF No.

22). On October 18, 2019 Defendant filed its Reply Brief. (ECF No. 23). The matter is now ripe

for adjudication.1

II. FACTUAL ALLEGATIONS

           The allegations in the Complaint are as follows. Plaintiff Jane Doe (“Plaintiff”) is an

    individual who resides in Wexford, Pennsylvania. Compl. ¶1. Defendant is a public university


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    The case was reassigned to this member of the Court on February 4, 2020. (ECF No. 37).

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located in Lexington, Kentucky. Compl. ¶ 2. Plaintiff applied and was accepted to the University

in the fall of 2017 and was subsequently accepted into the University’s honors program. The

University later offered her a full scholarship known as the Patterson Scholarship which included

full payment of tuition and fees for four years plus a stipend for room and board. Complaint ¶ 8.

Plaintiff alleges she is allergic to dairy and has various food intolerances and sensitivities. In

order to stay healthy and avoid life-threatening reaction, she must strictly avoid eating and coming

into contact with foods containing dairy. Complaint ¶ 6.

      In March 2018, Plaintiff and her mother visited the University’s campus in Lexington,

Kentucky. Complaint ¶10. During that visit, Plaintiff and her mother informed Sandy Copher, the

University's Director of Scholarships, about Plaintiff’s food allergy. Complaint ¶10. Plaintiff

and her mother also inquired about the University's policies for accommodating food allergies

and learned about the University's "Worry-Free Zones," which are food service stations free from

top allergens. Complaint ¶¶ 11-12. Plaintiffs mother then contacted Scott McDonald, the

University's Dean of Admissions, with additional questions regarding the Worry-Free Zones.

Complaint ¶ 14. Plaintiff also communicated via email with Sandy Copher, who was checking on

dining and housing options that could accommodate Plaintiff. Complaint ¶15, Ex. A. Copher also

informed Plaintiff the University has a Registered Dietician who works directly with students

who have special dietary needs. Complaint ¶15. On April 12, 2018, Copher informed Plaintiff of

the process for requesting a food-allergy accommodation and referred Plaintiff to Susan Fogg,

the University's Disability Accommodations Consultant, to discuss Plaintiffs food-related allergy

accommodations. Complaint ¶ 16, Ex. B. Fogg also communicated with Lauren McKnight-Ford,

a dietician, regarding Plaintiffs food allergies. Complaint ¶ 17.

      In addition to her food-allergies, Plaintiff requested accommodations related to her on-


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campus housing arrangements through David Beach, Director of the University's Disability

Resource Center. Complaint ¶¶ 24-25. After engaging in the interactive process, the University

offered Plaintiff a reserved private suite in the honors program dormitory at no additional cost to

Plaintiff. Complaint, Ex. E. The University subsequently engaged in an interactive

accommodations process with Plaintiff regarding her food- and housing-related accommodation

requests. As the Exhibits to Plaintiffs Complaint make clear, On July 20, 2018, the University

offered Plaintiff a variety of accommodations, including, inter alia, a refrigerator and microwave

in her room, meals prepared in accordance with recipes provided by Plaintiff’s family. Compl. ¶

33, Ex. D & E. These accommodations were unacceptable to the Plaintiff. Complaint ¶ 35.

Plaintiff ultimately enrolled in a local college at her own cost. Compl. ¶ 41.

      As a result of this disagreement, Plaintiff filed suit and alleges the University violated Title

II of the Americans with Disabilities Act (“ADA”), 42 U.S.C. 12131 et seq., and the

Rehabilitation Act, 29 U.S.C. § 794 et seq.

III. STANDARD OF REVIEW

      “[I]n reviewing a motion to dismiss under Rule 12(b)(2), we ‘must accept all of the

plaintiff's allegations as true and construe disputed facts in favor of the plaintiff.’” Pinker v. Roche

Holdings, Ltd., 292 F.3d 361, 368 (3d Cir. 2002) (quoting Carteret Sav. Bank, F.A. v.

Shushan, 954 F.2d 141, 142 n. 1 (3d Cir.1992)). However, once a defendant has properly raised

a jurisdictional defense, the plaintiff bears the burden of proving, either by sworn affidavits or

other competent evidence, sufficient contacts with the forum state to establish personal

jurisdiction. North Penn Gas Co. v. Corning Natural Gas Corp., 897 F.2d 687, 689 (3d Cir.1990)

(per curiam).

      Under the Federal Rules of Civil Procedure, district courts are authorized to exercise



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personal jurisdiction over non-residents to the extent permissible under the law of the state in

which the district court is located. Fed. R. Civ. P. 4(e); North Penn Gas, 897 F.2d at 689. In

exercising personal jurisdiction, the court must first ascertain whether jurisdiction exists under

the forum state's long-arm jurisdiction statute and then determine whether the exercise of

jurisdiction comports with the due process clause of the Fourteenth Amendment to the

Constitution. Van Buskirk v. Carey Canadian Mines, Ltd., 760 F.2d 481, 489-90 (3d Cir.1985).

This inquiry has been collapsed in Pennsylvania, as the Pennsylvania long-arm statute provides

that: “the jurisdiction of the tribunals of this Commonwealth shall extend to all persons ... to the

fullest extent allowed under the Constitution of the United States and may be based on the most

minimum contact with this Commonwealth allowed under the Constitution of the United States.”

42 Pa. Cons.Stat. Ann. § 5322(b); Van Buskirk, 760 F.2d at 490. The reach of the Pennsylvania

long-arm statute is thus “coextensive” with the due process clause. North Penn Gas, 897 F.2d at

690. The due process clause permits the court to assert personal jurisdictional over a nonresident

defendant who has “certain minimum contacts with [the forum] such that the maintenance of [a]

suit does not offend traditional notions of fair play and substantial justice.” International Shoe

Co. v. Washington., 326 U.S. 310, 316 (1945) (quotations omitted).

IV. DISCUSSION

      The University argues that this Court lacks personal jurisdiction over it in this case, either

under the requirements of specific personal jurisdiction or general personal jurisdiction, and

therefore, the case must either be dismissed or transferred to a district court that does have

personal jurisdiction over the University.

      A. General Jurisdiction

      General jurisdiction is based upon the defendant's “continuous and systematic contacts”



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with the forum. General Elec. Co. v. Deutz AG, 270 F.3d 144, 150 (3d Cir.2001) (citing

Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414-416, 104 S.Ct. 1868, 80

L.Ed.2d 404 (1984)).

       We are bound by precedent. In Gehling v. St. Georges School of Medicine, 773 F.2d 539

(3d Cir. 1985), the parents of a medical student at St. George’s School of Medicine, an institution

in Grenada, West Indies, filed a wrongful death action against the medical school in the United

States District Court for the Middle District of Pennsylvania after their son died following his

participation in a school-sponsored road race. The district court held that it lacked general

jurisdiction over the medical school, and the United States Court of Appeals for the Third Circuit

affirmed. Id. at 540. The Third Circuit held that there was no personal jurisdiction despite the fact

that 6 percent of the students that matriculated with the decedent came from Pennsylvania; that the

school placed advertisements in two national newspapers that circulated throughout Pennsylvania;

that it sent its chancellor and vice-chancellor to Philadelphia as part of a nine-city “media swing”

to gain exposure for the school; and that it entered into an agreement with Waynesburg College in

Waynesburg, Pennsylvania to establish an international educational program combining two years

of pre-medical studies at Waynesburg with medical training at St. George’s. Id. at 541–42.

       The court emphasized that the fact that some of St. George’s students were Pennsylvania

residents did not constitute a relevant business contact supporting the exercise of general

jurisdiction. It noted that because advanced educational institutions typically draw their student

body from various states, basing jurisdiction on such a contact would subject universities to suit

in every state where a student resides. See Gehling, supra, 773 F.2d at 542. For the same reason,

the court concluded that the fact that St. George’s derived some percentage of its revenue from

Pennsylvania residents for services provided in Grenada did not subject the school to personal



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jurisdiction. Id. at 543. The court also held that St. George’s advertisements in newspapers with

international circulations, as well as its establishment of a joint educational program with a

Pennsylvania college, did not constitute a continuous and substantial business relationship

sufficient to support the exercise of personal jurisdiction over it. Id. at 542–43.

       Relying on Gehling, a court in the Eastern District of Pennsylvania held that it could not

exercise general jurisdiction over Columbia University based on contacts with Pennsylvania that

are similar to those alleged in this case. See Gallant v. Trustees of Columbia University in the City

of New York, 111 F.Supp.2d 638 (E.D. Pa. 2000). In Gallant, the estate of patient who had been

treated by a physician employed by Columbia University filed an action against the university in

federal district court in Pennsylvania. The plaintiff alleged that Columbia had sufficient contacts

with Pennsylvania to support the exercise of general jurisdiction. These contacts, which Columbia

did not dispute, consisted of a student body that included Pennsylvania residents; collection actions

that Columbia had filed in Pennsylvania state court; at least four trust accounts overseen by a bank

in Philadelphia; fund raising and recruitment activities in Pennsylvania; participation by Columbia

professors and other employees in conferences, visiting professorships, and other academic

activities in Pennsylvania; participation in athletic events in the state; and research contracts or

agreements to conduct clinical trials between the university and at least six pharmaceutical

companies conducting business in Philadelphia. Id. at 640.

       The district court noted that although Columbia’s contacts were more significant than those

at issue in Gehling, none of the contacts “demonstrate[d] that Columbia ha[d] purposefully

directed its activities [toward], or purposefully availed itself of, [the] Pennsylvania [forum].”

Rather, the court explained, the contacts were “the result of Columbia’s participation in the type

of interstate activity in which any nationally prominent educational institution would



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engage.” Gallant, supra, 111 F.Supp.2d at 641. The court explained that the fact that Columbia

participated in athletic events in Pennsylvania, and that its professors and employees regularly

traveled to Pennsylvania to attend conferences, deliver lectures and act as visiting professors, could

not support the exercise of general jurisdiction in the absence of any evidence that Columbia and

its employees focused such activities on Pennsylvania, as opposed to participating generally in

interstate activities, some of which took place in that state. Further, the court noted that there was

nothing in the record to indicate that Columbia’s research contracts or clinical trial agreements

with firms in Pennsylvania were the result of its purposeful availment of the benefits of doing

business in the forum. Id. at 642.

         After reviewing the allegations and the submitted jurisdictional evidence, the Court

concludes it does not maintain general jurisdiction over the Defendant. Plaintiff has not shown

that the University has sufficient contacts with Pennsylvania to establish general personal

jurisdiction. She appears to nearly concede this point, “[b]ecause the plaintiff can show that this

court has specific personal jurisdiction, plaintiff does not need to show that this court has general

jurisdiction.” (ECF No. 21 at 10).2 She has not alleged or shown that the University provides

educational programs in Pennsylvania, or operates campuses in Pennsylvania, other than those

beyond the normal contacts which nationally recognized universities have outside their own states.

Under binding precedent in this Circuit, and on the record before the court, the University’s

activities in Pennsylvania cannot be characterized as so continuous and systematic that it must be

deemed “at home” in Pennsylvania. Accordingly, there are no grounds for general jurisdiction.




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  Her arguments as to the defense of sovereign immunity and the University’s citizenship for purposes of diversity
jurisdiction do not inform our analysis. It is clear that the University is outside the scope of the entities listed in the
long-arm statute. 42 Pa. C.S.A. § 5301. We need not make a finding as to its Eleventh Amendment immunity.

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        B. Specific Jurisdiction

        Specific jurisdiction is appropriate only if the “plaintiff's cause of action arises out of a

defendant's forum-related activities, such that the defendant ‘should reasonably expect being haled

into court’ in that forum.” Vetrotex Certainteed Corp. v. Consolidated Fiber Glass Prod. Inc.,, 75

F.3d 147, 151 (3d Cir. 1996) (quoting Worldwide Volkswagen Corp. v. Woodson, 444 U.S. 286,

297, 100 S.Ct. 559, 62 L.Ed.2d 490 (1980)). The Third Circuit has explained the three-part

analysis for specific jurisdiction. “First, the defendant must have ‘purposefully directed [its]

activities’ at the forum. Second, the litigation must ‘arise out of or relate to’ at least one of those

activities. And third, if the prior two requirements are met, a court may consider whether the

exercise of jurisdiction otherwise ‘comport[s] with fair play and substantial justice.’' O'Connor v.

Sandy Lane Hotel, 496 F.3d 312, 317 (3d Cir. 2007) (internal citations omitted). To find that a

plaintiff's claims “arise out of or relate to” the defendant's contacts with the forum state, the Third

Circuit requires “a closer and more direct causal connection than that provided by the but-for

test.” Id. However, the required causal connection is looser than the tort concept of proximate

causation. Id. (citing Miller Yacht Sales, Inc. v. Smith, 384 F.3d 93, 99-100 (3d. Cir.2004). The

appropriate analysis is fact-intensive, focusing on the “reciprocity principle upon which specific

jurisdiction rests”-- whether the defendant received the benefits and protections of a state's laws to

the extent that it should, as a quid pro quo, submit to the burden of litigation in the state. Id. at 323.

        Plaintiff argues the following facts support specific jurisdiction: the University held a

special reception in Pittsburgh, Pennsylvania for the purposes of recruiting National Merit scholars

with the hopes that those students would attend the University (for financial gain to the University);

the parties traded phone calls to and from Pennsylvania for the purposes of forming an agreement;

and the University has and continues to send letters to plaintiff at her home in Wexford,



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Pennsylvania. The weaknesses in this argument are apparent. Defendant may have directed very

limited activities at the forum, i.e. the first prong in the three-part analysis for specific jurisdiction

as described above. But Plaintiff has failed to meet the second prong of the analysis: her claims

(ADA and Rehabilitation Act) must arise out of the University’s contacts with Pennsylvania. The

allegations are that she was denied accommodations related to her meal plan on the university

campus and her on-campus housing. The alleged acts and omissions which caused Plaintiff harm

all took place in Kentucky. Moreover, her Pennsylvania residency is not enough: “[t]he state of a

plaintiff's residence does not on its own create jurisdiction over nonresident defendants.

Jurisdiction is proper when the state of a plaintiff's residence is ‘the focus of the activities of the

defendant out of which the suit arises.” Marten v. Goodwin, 499 F.3d 290, 298 (3d Cir. 2007); see

also Jarzynka v. St. Thomas Univ. Sch. of Law, 323 F. Supp. 2d 660, 663-64 (W.D. Pa. 2004)

(finding that the following contacts in an ADA claim brought by an expelled former student were

not enough for specific jurisdiction: the law school mailed letters to the plaintiff, the law school

made an application available to the plaintiff, the law school invited the plaintiff to visit its campus,

the law school offered the plaintiff a full scholarship, and the law school sent the plaintiff

correspondence regarding financial aid and housing); Rodi v. S. New Eng. Sch. of Law, 255 F.

Supp. 2d 346, 350 (D.N.J. 2003) (holding that a form letter and an acceptance letter from the

defendant law school were insufficient to establish minimum contacts); Hardnett v. Duquesne

Univ., 897 F. Supp. 920, 923-24 (D. Md. 1995) (explaining that the exchange of correspondence

between the plaintiff and the defendant university is not a proper basis for exercising specific

jurisdiction); Cassell v. Loyola Univ., 294 F. Supp. 622, 623 (E.D. Tenn. 1968) (stating that

“[t]raditional notions of fair play and substantial justice prevent the Court from holding that a non-

profit educational institution renders itself subject to service of process in every state of the union



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from which it may seek or attract outstanding athletes and scholars”).           Simply put, “specific

personal jurisdiction is claim-specific, and where there is no connection between the contacts with

the forum state and the claim, specific jurisdiction does not lie.” Jarzynka, 323 F.Supp.2d at 664.

        C. Transfer

        Although we lack personal jurisdiction over the University, we conclude that transferring

this action to the United States District Court for the Eastern District of Kentucky, Central Division

at Lexington, better serves the interests of justice than dismissing it. See 28 U.S.C. § 1631

(“Whenever a civil action is filed in a court ... and that court finds that there is a want of

jurisdiction, the court shall, if it is in the interest of justice, transfer such action or appeal to any

other such court in which the action or appeal could have been brought at the time it was filed ...”).

Personal jurisdiction and venue are proper in the Eastern District of Kentucky as Defendant is

located there and a substantial part of the events or omissions giving rise to the claim occured

there. See 28 U.S.C. § 1391. Moreover, a transfer is in the interest of justice because it will prevent

the duplication of filing costs. See Lawman Armor Corp. v. Simon, 319 F.Supp.2d 499, 507 (E.D.

Pa. 2004) (“Normally transfer will be in the interest of justice because dismissal of an action that

could be brought elsewhere is time-consuming and justice-defeating.” (quoting In re Ski Train

Fire in Kaprun, Austria on November 11, 2000, 257 F.Supp.2d 717, 734 (S.D.N.Y.2003))).

        An appropriate Order follows.

DATED: February13th, 2020

                                                /s/ Robert J. Colville
                                                Robert J. Colville
                                                United States District Court Judge




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